§ ' Case 1:05-cr-10004-.]DT Document 45 Filed 08/25/05 Page 1 of 3 Page|D 62

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

UNITED STATES OF AMERICA,

 

Plaintiff¢
vS. No.OB-lOOO4-T
MARY CHRISTINE GREEN,

Defendant. //

 

MOTION TO AMEND JUDGMENT

  
   
    
    
  
   
    
  
     
  
   
   
    
  
 
  
 

Comes now the defendant, Mary Christine een, by and through

her court-appointed counsel of record, Mi ael J. Stenqel, ESq.,
and moves this Court to amend the judgment to include a
recommendation that the BOP designat FPC Alderson, West Virginia
as her place of confinement. In pport thereof, MS. Green would
Show:
l. In orally pronounc'ng Sentence, the Court Stated it would
recommend that MS. Gree 5 Sentence be eerved at FPC Alderson, Weet
Virginia. (R.éZ,\M`nuteS: Sentencing).
2. The j gment entered (R.43) does recommend that the BOP
place MS. G en in a long term residential drug treatment program,
however, ails to include the recommendation that her eentence be
at FPC Aldereon, West Virginia.
¢WHEREFORE, PREMISES CONSIDERED, in view of the Statements it

a é§in§§§éY-Court, MS. Gre this COurt enter an amended
gaf -.: ,._§ i\?ldi§ryén GRANTED
DATE=&LQM
12

_doc`mnt entered on the docket sh t ln .3, ¢Q'¢M

§§ in with Hq§`aB and!or 32[b) FRCrP on Jam es D. Todd
U.S. District Judge

254

  

Case 1:05-cr-10004-.]DT Document 45 Filed 08/25/05 Page 2 of 3 Page|D 63

judgment containing the FPC Alderson, West Virginia recommendation

tO the BOP.

Respectfully eubmitted,

(/\»MSM

Michael J. Stengel (12260)
Attorney for Defendant

50 N. Front Street, Suite 850
Memphis, Tennessee 38103
(901) 527-3535

Certificate of Service
l hereby certify that l have aerved a copy of the foregoing
upon Mr, Jerry Kitchen, 109 S. Highland Ave., Suite 300, Jackson,

Tenneeeee 38301, this ELDUL-day of August, 2005.

l/MM\SM

Michael J. Stengel

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 45 in
case 1:05-CR-10004 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

Michael J. Stengel
STENGEL LAW FIRM
50 North Front Street

Ste. 850

l\/lemphis7 TN 38103--111

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

